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   12 Attorneys for Plaintiffs
   13
                            UNITED STATES DISTRICT COURT
   14
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
        MICHAEL LAVIGNE, et al.,              CASE NO. 2:18-cv-07480-JAK (MRWx)
   16                                         [Related Case 2:13-cv-02488-BRO-RZ]
                   Plaintiffs,
   17
             vs.                              JOINT REPORT ON SETTLEMENT
   18
        HERBALIFE LTD., et al.,
   19
                   Defendants.
   20                                         Assigned to Hon. John A. Kronstadt,
                                              Courtroom 10B
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                                  JOINT REPORT ON SETTLEMENT
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    1         Plaintiffs Patricia Rodgers, Izaar Valdez, and Jennifer Ribalta (collectively
    2
        referred to as “Plaintiffs”) and Defendant Herbalife International of America, Inc.
    3
        (“Herbalife”), hereby submit the following Joint Report on Settlement Talks, and
    4
    5   state the following:
    6
              1.    On August 17, 2020, Plaintiffs and Herbalife attended mediation with
    7
    8               the Honorable Suzanne Segal.
    9
              2.    Efforts were made to resolve both the above-captioned action and the
   10
   11               related action of Rodgers et al. v. Mark Addy, et al., pending in the
   12               United States District Court for the Southern District of Florida, Case
   13
                    No. 17-CV-23429-MGC. The Florida Defendants did not participate in
   14
   15               the mediation.
   16
              3.    The parties reached an impasse.
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                                     JOINT REPORT ON SETTLEMENT
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    1 DATED: August 19, 2020           Respectfully submitted,
    2
                                       Etan Mark
    3                                  Mark Migdal & Hayden
    4                                  By:         /s/ Etan Mark
    5
    6                                        Attorneys for Plaintiffs Jeff Rodgers,
                                             Patricia Rodgers, Jennifer Ribalta, and Izaar
    7                                        Valdez
    8
    9                                  Mark T. Drooks
        DATED: August 19, 2020
   10                                  Paul S. Chan
                                       Gopi K. Panchapakesan
   11                                  Jonathan M. Jackson
   12                                  Bird, Marella, Boxer, Wolpert, Nessim, Drooks,
                                       Lucenberg & Rhow, P.C.
   13
   14                                  By:         /s/ Jonathan Jackson

   15                                        Attorneys for Defendant Herbalife
   16                                        International of America, Inc.
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                                 JOINT REPORT ON SETTLEMENT
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                                JOINT REPORT ON SETTLEMENT TALKS
